            Case
             Case2:09-cv-14402-AC-MKM
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AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                         Eastern District of Michigan


Carrie M Warf,

                                                         Plaintiff,

v.                                                                              Case No. 2:09−cv−14402−AC−MKM
                                                                                Hon. Avern Cohn
United States Department of Veterans
Affairs,

                                                         Defendant.




                                                     SUMMONS IN A CIVIL ACTION

To:       United States Attorney

         A lawsuit has been filed against you.

       Within 20 days after service of this summons on you (not counting the day you received it) − or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) − you must serve on the plaintiff an answer to the attached complaint or a motion under Rule
12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:

                                     Jennifer L. Brant
                                     407 N. Main
                                     Second Floor
                                     Ann Arbor, MI
                                     48104


If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.



DAVID J. WEAVER, CLERK OF COURT                                           By: s/ C. Greyerbiehl
                                                                              Signature of Clerk or Deputy Clerk


                                                                                Date of Issuance: November 10, 2009
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